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              IN THE UNITED STATES DISTRICT COURT FOR THE
             NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

NIRAV THAKKAR, an individual,                 )
                                              )
                 Plaintiff,                   )
                                              )
v.                                            ) Case No. 1:15-cv-10109
                                              )
OCWEN LOAN SERVICING, LLC, a                  )
Delaware limited liability company;           ) Honorable John J. Tharp, Jr.
ALTISOURCE SOLUTIONS, INC., a                 )
Delaware corporation; ALTISOURCE              ) Magistrate Judge Maria Valdez
PORTFOLIO SOLUTIONS, S.A., a                  )
Luxembourg corporation; BAXOL                 )
PROPERTIES, LLC, an Indiana limited           )
liability company; and LAUDAN                 )
PROPERTIERS, LLC, an Ohio limited             )
liability company;                            )
                                              )
                 Defendants.                  )
______________________________________ )
OCWEN LOAN SERVICING, LLC,                    )
                                              )
                 Defendants/Cross Claimant,   )
                                              )
v.                                            )
                                              )
BAXOL PROPERTIES, LLC, an Indiana             )
limited liability company; and LAUDAN         )
PROPERTIES, LLC, AN Ohio limited liability )
company,                                      )
                                              )
                 Defendants/Cross Defendants. )
______________________________________ )
OCWEN LOAN SERVICING, LLC,                    )
                                              )
                 Third-Party Plaintiff,       )
                                              )
v.                                            )
                                              )
GREEN GROUP CORP., an Illinois                )
corporation,                                  )
                                              )
                 Third-Party Defendant.       )
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     LAUDAN PROPERTIES, LLC’S MOTION FOR LEAVE TO JOIN SUMMARY
     JUDGMENT MOTIONS OF BAXOL PROPERTIES, LLC AND ALTISOURCE
                           SOLUTIONS, INC.

        NOW COMES Defendant/Third-Party Plaintiff, LAUDAN PROPERTIES, LLC

(“Laudan”), by and through its attorneys, Litchfield Cavo LLP, respectfully submits this joinder

in the Motions for Partial Summary Judgment, Statements of Undisputed Material Facts and

Memoranda of Law in Support of Motions for Partial Summary Judgment filed by co-defendants

Baxol Properties, LLC (“Baxol”) [Dkt. Nos. 244-246] and Altisource Solutions, Inc. (Altisource)

[Dkt. Nos. 235, 239-240], joining and adopting the arguments set forth therein as to Count I of

Plaintiff’s First Amended Complaint, as the same arguments apply to Laudan. In support of its

Motion, Laudan states as follows:

        1.      Plaintiff filed a six-count First Amended Complaint against defendants, alleging

wrongful mortgage-servicing and property-preservation activities at the property at issue. [Dkt.

No. 88]. Only Counts I (Violation of the Illinois Consumer Fraud Act), II (Negligence) and VI

(Civil Conspiracy) are directed at Laudan. [Id.]

        2.      On September 21, 2018, Baxol and Altisource each filed Motions for Partial

Summary Judgment wherein each seek summary judgment, inter alia, on Count I. [Dkt. Nos.

235 at ¶ 3; 239 at § II.b.; 244 at ¶ 8, 245 at § III.b.]

        3.       Laudan, like Baxol, contracted with Altisource to provide property preservation

services. [Dkt. Nos. 239 at ¶ 5; 246 at ¶¶ 12, 14] Specifically, Altisource contracted with

Laudan to perform external inspections and occupancy determinations at residential properties

which, in September 2013 and December 2013, involved the property at issue. [Dkt. Nos. 239 at

¶¶ 25, 51; 246 at ¶¶ 14, 38-39, 45-46]
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        4.    The arguments made by Baxol and Altisource as it pertains to Count I equally

apply to Laudan in this matter as Laudan is similarly situated as a property preservation service

company.

        5.    In the interest of judicial economy and rather than filing a separate motion,

Laudan seeks leave to join in the arguments presented by Baxol and Altisource as to Count I of

Plaintiff’s First Amended Complaint of each of their respective summary judgment motions.

        6.    Moreover, joining in these motions will not prejudice Plaintiff or cause delay to

the present matter as the arguments to which Plaintiff would be responding to would remain the

same.

        WHEREFORE, Defendant Laudan Properties, LLC respectfully request that this

Honorable Court grant it leave to join in the arguments presented in Section III.b. of the Motion

for Partial Summary Judgment of co-defendant Baxol Properties, LLC [Dkt. Nos. 244-246] and

Section II.b. of the Motion for Partial Summary Judgment of co-defendant Altisource Solutions,

Inc. [Dkt. Nos. 235, 239-240].

                                            LAUDAN PROPERTIES, LLC,

                                            By:     /s/ Jason E. Hunter
                                                    One of its Attorneys

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                             CERTIFICATE OF SERVICE

        I, Jason E. Hunter, an attorney, certify that on this 12th day of October, 2018, I
electronically filed Defendant/Third-Party Plaintiff, Laudan Properties, LLC’s Motion for
Leave to Join Summary Judgment Motions of Baxol Properties, LLC and Altisource
Solutions, Inc. with the Clerk of the court using the CM/ECF system which will send
notification to those who are currently on the list to receive email notices for this case.

                                                /s/ Jason E. Hunter
